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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES -- GENERAL

Case No.     CV 19-2626-JFW(PLAx)                                       Date: September 23, 2019

Title:       Roy Manojkumar Samathanam -v- Nandasena Gotabaya Rajapaksa

PRESENT:
             HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

             Shannon Reilly                                 None Present
             Courtroom Deputy                               Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                   ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                                None

PROCEEDINGS (IN CHAMBERS):               ORDER GRANTING DEFENDANT’S MOTION TO STAY
                                         CASE [filed 8/26/2019; Docket No. 67];

                                         ORDER CONTINUING SCHEDULING CONFERENCE;

                                         ORDER CONTINUING HEARING ON DEFENDANT’S
                                         MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED
                                         COMPLAINT PURSUANT TO RULES 12(b)(1) and
                                         12(b)(6), FORUM NON CONVENIENS, AND
                                         INTERNATIONAL COMITY

       On August 26, 2019, Defendant Nandasena Gotabaya Rajapaksa (“Defendant”) filed a
Motion to Stay Case. On September 3, 2019 Plaintiffs Roy Manojkumar Samathanam, Ramesh
Thevarajan, Vidhya Jayakumar, Ramanan Sivalingam, Shanti Padmanathan, Saman Perera,
Nimal Jayasuriya, Vasanthi Ratnasingham, Suresh Jeyabalan, Senthil Puwaneswaran, and
Mayuran Rajkumar (collectively, “Plaintiffs”) filed their Opposition. On September 9, 2019,
Defendant filed a Reply. Pursuant to Rule 78 of the Federal Rules of Civil Procedure and Local
Rule 7-15, the Court found the matter appropriate for submission on the papers without oral
argument. The matter was, therefore, removed from the Court’s September 23, 2019 hearing
calendar and the parties were given advance notice. After considering the moving, opposing, and
reply papers, and the arguments therein, the Court rules as follows:

       On August 11, 2019, one of Sri Lanka’s major political parties nominated Defendant as its
presidential candidate for the election scheduled to occur on December 7, 2019. Defendant moves
for a brief stay pending the Sri Lankan presidential election on the basis that, should Defendant
become Sri Lanka’s head of state, he would be entitled to absolute head-of-state immunity from
suit and a brief stay would promote judicial economy and respect principles of international comity.


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        A district court “has broad discretion to stay proceedings as an incident to its power to
control its own docket.” Clinton v. Jones, 520 U.S. 681, 706-07 (1997) (citing Landis v. North Am.
Co., 299 U.S. 248 (1936)). When considering whether to stay proceedings, courts consider (1) the
possible damage that may result from granting a stay; (2) the hardship or inequity that a party may
suffer if required to go forward; and (3) the orderly course of justice, measured in terms of whether
issues, proof, and questions of law would likely be simplified or complicated. Lockyer v. Mirant
Corp., 398 F.3d 1098, 1110 (9th Cir. 2005).

        The Court concludes that a brief stay of this action is appropriate because it would preserve
judicial resources, impose no identifiable harm on Plaintiffs, and would avoid unnecessary burdens
on Defendant. Accordingly, Defendant’s Motion to Stay is GRANTED. This action is STAYED
until December 16, 2019.

      The Court CONTINUES the Scheduling Conference, currently set for September 30, 2019,
to December 30, 2019 at 1:15 p.m. The Court CONTINUES the hearing date on Defendant’s
Motion to Dismiss Plaintiff’s First Amended Complaint Pursuant to Rules 12(b)(1) and 12(b)(6),
Forum Non Conveniens, and International Comity (“Motion to Dismiss”) from October 21, 2019 to
January 13, 2020 at 1:30 p.m. Plaintiffs shall file their Opposition to Defendant’s Motion to
Dismiss on or before December 23, 2019, and Defendant shall file his Reply on or before
December 30, 2019.


      IT IS SO ORDERED.




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